           Case 22-33553 Document 1019 Filed in TXSB on 01/16/25 Page 1 of 2




                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION
In re:                                             §
                                                   §    Chapter 7
ALEXANDER E. JONES,                                §
                                                   §    Case No. 22-33553
               Debtor.                             §
                                                   §
                                                   §

                                NOTICE OF HEARING
     ON THE TRUSTEE’S: (I) MOTION TO APPROVE SETTLEMENT WITH PQPR AND
     RELATED PARTIES [DE 1005]; (II) MOTION TO APPROVE SETTLEMENT WITH
     THE CONNECTICUT FAMILIES AND THE TEXAS FAMILIES [DE 1011]; AND (III)
             MOTION TO APPROVE SETTLEMENT WITH ESG [DE 1018]
                   [This relates to Docket Nos. 1005, 1011, and 1018]

           PLEASE TAKE NOTICE that the Trustee filed the following motions: (i) Motion to

    Approve Settlement with PQPR and Related Parties [DE 1005]; (ii) Motion to Approve Settlement

    with the Connecticut Families and the Texas Families [DE 1011]; and (iii) Motion to Approve

    Settlement with ESG [DE 1018]. These motions will be collectively referred to as (the “Motions”).

           PLEASE TAKE NOTICE that a hearing on the Motions have been scheduled for

    January 23, 2025 at 9:00AM (Central Standard Time) before the Honorable Christopher M.

    Lopez, United States Bankruptcy Judge, Courtroom 401, 515 Rusk, Houston, TX 77002.

           This will be a hybrid hearing. Parties may participate and attend this hearing remotely by

    telephone and video conference, or in-person. Audio for remote participation is conducted by

    phone, Dial-in Number: 832-917-1510, Conference ID: 590153. An audio connection by phone

    is required for all video participants. Video participation is conducted through GoToMeeting at:

    https://www.gotomeet.me/JudgeLopez.
       Case 22-33553 Document 1019 Filed in TXSB on 01/16/25 Page 2 of 2




          Additional instructions, rules, and/or procedures on participation may be found on the

Court’s      homepage     at:   https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-

christopher-m-lopez.

Dated: January 16, 2025                              Respectfully submitted,
                                                     /s/Erin E. Jones
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                                                     Counsel for Christopher Murray,
                                                     Chapter 7 Trustee


                                 CERTIFICATE OF SERVICE

This will certify that a true and correct copy of the foregoing document was forwarded by
electronic transmission to all registered ECF users appearing in the case on January 16, 2025.

                                                     /s/Erin E. Jones
                                                     Erin E. Jones
